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 7                                   UNITED STATES DISTRICT COURT
 8                              EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                      Docket Number 6:20-po-00742-HBK
11                      Plaintiff,
12           v.                                      MOTION TO EXTEND GOVERNMENT’S
                                                     MOTION RESPONSE DEADLINE
13

14    DAVID A. NUNN,
15                      Defendant.
16

17
            The United States, through its counsel, Sean O. Anderson, Legal Officer, hereby moves
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     this Court to extend the deadline for the Government’s response to Defense Motion to Dismiss,
19
     from May 17, 2021 to May 24, 2021.
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21
            Dated: May 17, 2021                          /s/ Sean O. Anderson_______
22                                                       Sean O. Anderson
23                                                       Legal Officer
                                                         Yosemite National Park
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